Case 2:05-cv-02333-SHI\/|-dkv Document 4 Filed 06/21/05 Page 1 of 3 Page|D 1

 

FH.E¢;) ev _\ t§`.o.
iN THE UNITED STATES DISTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE - "- ‘ P,
WESTERN DIVISION 05 JUN _2'7 Pr' 3 l* *
" ,' -et‘heéer'§...et"'reoi_!o
- eteaa;_u'e. et§r. c'r.
THoMAS & BETTS iNTERNArloNAL, rNC. " W'D- G" m M°WH‘S
and THoMAS & BETTS CoRPoRATIoN
P]aintiff,
Civil Aotion No. 05-CV-2333 - Ma V
V.

JOHN MEZZALINGUA ASSOCIATES, INC.
d/b/a PPC, fNC.

Defendant.
STIPULATION TO EXTEND TIME TO ANSWER
IT IS HEREBY STIPULATED AND AGREED between counsel for all parties that the time for

Defendant to answer or otherwise move With respect to Plaintiffs’ complaint in the above-captioned
matter Shall be extended to July 6, 2005.

Dated: June 3, 2005

 

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THOMAS & BETTS INTERNATIONAL, INC.
and THOMAS & BETTS CORPORATION

so oRDERED this if day OFF"“N, 2005 ,.

 

l Counsel for defendant is not admitted to
seeking admission pro hac vice in this case

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

practice in Tennessee, but is in the process of obtaining local counsel and

 

UNITSTED`ATES DISTRCT COURT - WESTENR D"ISRICT oF TNNESSEE

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This notice confirms a copy of the document docketed as number 4 in
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Honorable Samuel Mays
US DISTRICT COURT

